USDC IN/ND case 2:12-cr-00160-JVB-PRC               document 139        filed 11/21/14   page 1 of 2


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

 UNITED STATES OF AMERICA,                      )
           Plaintiff,                           )
                                                )
        v.                                      )      Cause No.: 2:12-CR-160-JVB-PRC
                                                )
 ANTHONY BITTERLING,                            )
          Defendant.                            )

                                     OPINION AND ORDER

        This matter is before the Court on the Government’s Request for Immediate Production of

 Evidentiary Material [DE 125], filed on October 7, 2014. No response has been filed, and the time

 to do so has passed.

        Defendant Bitterling pled guilty earlier this year to conspiracy to commit healthcare fraud.

 Defendant Bitterling has not yet been sentenced, and there is an evidentiary hearing in this case

 scheduled to take place on February 17, 2015, before District Judge Joseph Van Bokkelen. That

 hearing will focus on the appropriate level of loss and restitution.

        The Government contends that restitution due from Defendant Bitterling is over one million

 dollars; Defendant Bitterling, however, claims that the appropriate restitution amount is

 $159,892.37.The Government represents that Defendant has failed to provide it with any evidence

 in support of the lower number and asks that this Court order Defendant Bitterling to hand over any

 evidentiary material he intends to use to establish that the lower amount applies. The Government

 represents that it is aware of a number of subpoenas Defendant Bitterling issued to various

 physicians. According to the Government, these subpoenas were for early return of material in

 advance of the evidentiary hearing. Thus far, says the Government, Defendant has refused to provide

 the Government with access to this material.
USDC IN/ND case 2:12-cr-00160-JVB-PRC               document 139     filed 11/21/14    page 2 of 2


        Defendant Bitterling has not responded to this motion, and the Court sees no reason why it

 should not be granted. Accordingly, the Court GRANTS the Government’s Request for Immediate

 Production of Evidentiary Material [DE 125] and ORDERS Defendant Bitterling to disclose to the

 Government any evidentiary material he intends to rely on at the upcoming evidentiary hearing to

 establish a lower amount of restitution responsibility.

        SO ORDERED this 21st day of November, 2014.


                                               s/ Paul R. Cherry
                                               MAGISTRATE JUDGE PAUL R. CHERRY
                                               UNITED STATES DISTRICT COURT
